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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

LANDSCAPE CONSULTANTS OF
TEXAS, INC., and METROPOLITAN
LANDSCAPE MANAGEMENT,
INC.,

                       Plaintiffs,                 Civil Action No. 4:23-cv-03516
v.

CITY OF HOUSTON, TEXAS, and
MIDTOWN MANAGEMENT
DISTRICT,

                       Defendants.

                                 CITY OF HOUSTON’S
                       EMERGENCY MOTION TO COMPEL DEPOSITION

         The City of Houston files this motion to compel the oral and videotaped

deposition of Gerald Thompson, currently noticed for September 25, 2024.

Discovery closes September 30, 2024. Plaintiffs have informed the City that Mr.

Thompson will not appear for his deposition.

                        NATURE OF THE EXPEDITED REQUEST

         Pursuant to this Court’s Scheduling Order, discovery closes on September

30, 2024. Doc No. 39. On August 28, 2024, the City requested dates for the

deposition of Gerald Thompson, the owner of both plaintiffs. See Doc. No. 44-3,

Thompson Decl. On September 12, 2024, Plaintiffs’ counsel informed the City that

Mr. Thompson was available for deposition on almost every date through the end

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of the discovery period, excluding only four dates. Five days later, Plaintiffs’

counsel changed their mind and informed the City they would only agree to

present Mr. Thompson individually and for a corporate representative deposition,

on the same date, outside the discovery period. Emergency relief is warranted to

permit Mr. Thompson’s deposition to go forward within the discovery period

ending September 30, as noticed.

                           DISPUTE BACKGROUND

         Plaintiffs filed suit on September 19, 2023, asserting the City’s MBE

program is unconstitutional. Doc. No. 1, Pltfs’. Compl. On February 1, 2024, the

Court signed an amended scheduling order setting Plaintiffs’ expert designations

for June 14, Defendants’ expert designations for July 31, and the close of

discovery for September 30. Doc. No. 39. Plaintiffs did not designate expert

witnesses. Defendants designated expert witnesses on July 31.

         Gerald Thompson and his wife are the owners of Landscape Consultants of

Texas, Inc. (Landscape Consultants) and Metropolitan Landscape Management,

Inc. (Metropolitan). See Doc No. 44-3, Thompson Decl.

         On August 28, 2024, the City requested dates in the second half of

September for a deposition of corporate representatives of each Plaintiff and for

Mr. Thompson individually. Ex. A, 8/28/24 email, Stephens to Wilcox.

         On September 12, Plaintiffs’ counsel confirmed Mr. Thompson was


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available for his own and a 30(b)(6) deposition through the end of the discovery

period on September 30, excluding only September 17, 26, 27, or 30. Ex. B,

9/12/24 email, Boden to Stephens.

         Four days later, on September 16, the City confirmed that Mr. Thompson

would be deposed on September 25 and asked at which location Plaintiffs would

prefer the deposition take place. Ex. C, 9/16/24 email, Stephens to Boden.

         On September 17, Plaintiffs’ counsel changed their mind. Plaintiffs’ counsel

informed the City that they would “prefer” to have Mr. Thompson’s individual

deposition take place on the same day as the corporate representative depositions

for both plaintiffs (for whom he would be the designated representative). Ex. D,

9/17/24 email, Wilcox to Stephens at 1:59 p.m. And, despite having already

committed Mr. Thompson to dates for a 30(b)(6) deposition, Plaintiffs’ counsel

now informed the City that Mr. Thompson would not be available for a 30(b)(6)

deposition after all, because Plaintiffs’ counsel believed they had insufficient time

to prepare him for a 30(b)(6) deposition before September 25. Id. When questioned

regarding this seemingly manufactured unavailability, Plaintiffs’ counsel

confirmed their refusal to present Mr. Thompson for any deposition was because

30(b)(6) topics had not been served. Id., Wilcox to Stephens at 2:36 p.m.

         Although inability to prepare for a 30(b)(6) deposition had not been a

concern when Plaintiffs provided numerous dates for Mr. Thompson’s 30(b)(6)


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deposition just four days prior (including dates as soon as the Monday after the

Thursday of Plaintiffs’ email), on September 17, the City served a notice of

deposition for Mr. Thompson in his individual capacity only—no topics. That

deposition is noticed to take place on September 25 at 10:00 a.m. at the offices of

the City’s counsel. See Ex. E, Notice of Deposition of Gerald Thompson.

         On September 19, Plaintiffs’ counsel confirmed Mr. Thompson would not

be present for his deposition on September 25. Ex. F, 9/19/24 email, Wilcox to

Stephens at 10:33 a.m.

         Plaintiffs have refused to present their owner for deposition within the

discovery period, despite him being served with a notice of deposition for a date

Plaintiffs’ counsel provided. This dispute is ripe for determination, and resolving

Plaintiffs’ obstructionism warrants expedited consideration given the imminent

close of discovery.

                         ARGUMENT AND AUTHORITIES

         After Plaintiffs’ counsel provided Mr. Thompson’s availability on

September 12, Mr. Thompson’s deposition was noticed on September 17 to take

place on September 25. The Court may, “on motion, order sanctions if: (i) a party

or a party’s officer, director, or managing agent . . . fails, after being served with

proper notice, to appear for that person’s deposition.” F ED. R. CIV. P.

37(d)(1)(A)(i). Mr. Thompson is the owner of both plaintiffs in this action, and


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Plaintiffs have informed the City that he will not be present for his noticed

deposition. The Court should order the deposition to proceed as noticed, within the

discovery period that ends September 30.

    A. Plaintiffs should present Mr. Thompson on the date they said they could
       present him.

         The relevance of Mr. Thompson’s testimony, as the owner of both plaintiffs,

cannot seriously be disputed. Plaintiffs’ refusal to present Mr. Thompson for his

deposition on a date he is available for deposition is baseless, and Plaintiffs’

excuses for their own behavior are simply pretextual.

         As a common courtesy, the City asked for Mr. Thompson’s deposition

availability in the second half of September on August 28—over a month before

the close of discovery—prior to serving a notice of deposition. Ex. A, 8/28/24

email, Stephens to Wilcox. On September 12, Plaintiffs’ counsel stated Mr.

Thompson could be presented on any of the following dates through the end of the

discovery period (excluding weekends and the Friday following September 12):

September 16, September 18, September 19, September 20, September 23,

September 24, and September 25. Ex. B, 9/12/24 email, Boden to Stephens.

Plaintiffs placed no qualifications of any kind on this availability. Id.

         The City elected to take Mr. Thompson’s deposition for September 25, the

latest of these available dates. Ex. C, 9/16/24 email, Stephens to Boden. Again, as

a common courtesy, the City asked where Plaintiffs would prefer the deposition to

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take place. Id. In response, and for the first time, Plaintiffs’ counsel manufactured

conditions on Mr. Thompson’s availability that had never previously been raised.

Ex. D, 9/17/24 email, Wilcox to Stephens at 1:59 p.m. First, Plaintiffs now

required that his individual and corporate depositions take place simultaneously (a

requirement that exists nowhere in the Federal Rules); and second, because

Plaintiffs claimed to be unable to prepare him for 30(b)(6) depositions between the

12th and 25th (in the timeframe Plaintiffs had provided), they would not present

him for any deposition at all. Id.

         Understanding the concern to be one of lack of preparation in connection

with the 30(b)(6) depositions, the City instead served a notice for Mr. Thompson’s

individual deposition only. See Ex. E, Notice of Deposition of Gerald Thompson.

In response, Plaintiffs informed the City that making Mr. Thompson available

individually, on the latest date inside the discovery period that Plaintiffs had said

he was available for an individual deposition, presented an “undue burden.” Ex. F,

9/19/24 email, Wilcox to Stephens at 10:33 a.m.

         This contention is frivolous at best. It cannot present an undue burden to

Plaintiffs to depose Mr. Thompson individually on his personal knowledge, within

the discovery period, on a date Plaintiffs provided for his deposition. Mr.

Thompson lives in Spring, Texas. Doc. No. 44-3, Thompson Decl. His two

companies, the plaintiffs in this matter, are based in Houston. Id. Appearing for his


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deposition in Houston for a suit that has been pending for a year (in Houston)

poses him no undue burden. Nor does deposing him in his individual capacity only

on that date present an undue burden. It would be quite unusual for Mr. Thompson

to complain that the undue burden derives from him being deposed only in his

individual capacity in a single day, as opposed to also undergoing two 30(b)(6)

depositions for the two parties at the same time. His deposition was noticed on a

date his counsel provided. The notion that this presents an undue burden is absurd.

         Plaintiffs lack any basis to deprive the City of obviously relevant deposition

testimony within the discovery period. The Court should therefore order Plaintiffs

to present Mr. Thompson for a deposition within the discovery period on

September 25. Appearing for that deposition poses Plaintiffs no undue burden,

because per his counsel Mr. Thompson is available to be deposed individually on

that date.

    B. The City is entitled to attorneys’ fees for this motion.

    Federal Rule 37 mandates the award of attorneys’ fees for a successful motion

to compel, absent circumstances disproved here by the gamesmanship of Plaintiffs’

counsel. Fed. R. Civ. P. 37(a)(5)(A). Plaintiffs’ counsel have flatly stated they will

not present Mr. Thompson for his noticed deposition on September 25. The

discovery period closes on September 30. Plaintiffs’ refusal to present their owner

is not substantially justified, because Plaintiffs’ counsel provided dates for his


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individual deposition within the discovery period before changing their mind for

no good reason.

        The Court may also, “on motion, order sanctions if: (i) a party or a party’s

officer, director, or managing agent . . . fails, after being served with proper notice,

to appear for that person’s deposition.” Fed. R. Civ. P. 37(d)(1)(A)(i). Plaintiffs

have stated that despite being served with proper notice, Mr. Thompson, the owner

of both parties, will not appear for deposition. There is no rational reason why

Plaintiffs would force the City to file this motion to require Plaintiffs’ compliance

with their own commitments and representations. Accordingly, the City requests

an award of fees incurred and sanctions in connection with bringing this motion.

                                   CONCLUSION

         The City respectfully requests that the Court order Plaintiffs to present Mr.

Thompson for deposition on the date Plaintiffs provided for his deposition, grant the

City its attorneys’ fees in connection with this motion, and for such other and

further relief to which the City may show itself to be justly entitled.




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                                       Respectfully submitted,
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                                        ATTORNEYS FOR THE CITY OF
                                        HOUSTON

                        CERTIFICATE OF CONFERENCE

         I certify that counsel for movant has exchanged numerous emails with

counsel for Plaintiffs, which are attached as exhibits to this motion and which

evidence Plaintiffs’ refusal to present the witness within the applicable period or

otherwise resolve the matters presented. Therefore, it is presented to the Court for

determination.

                                              /s/ Ben Stephens
                                              Ben Stephens

                           CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing has been served upon all counsel of

record on September 20, 2024, via the CM/ECF Filing system.

                                              /s/ Ben Stephens
                                              Ben Stephens




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